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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


DECKERS OUTDOOR CORPORATION,
                                                    Case No. 20-cv-02930
                       Plaintiff,
                                                    Judge Thomas M. Durkin
       v.
                                                    Magistrate Judge Jeffrey Cole
0ESHOP-2014, et al.,

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Deckers

Outdoor Corporation (“Plaintiff”) hereby dismiss this action with prejudice as to the following

Defendants:

                Defendant Name                                      Line No.
      Alliteration 2 specially sold cowboys                            45
                    changyubao                                         69
         Dailey sonme well down latey                                  80
                   dynamomee                                           88
                     Is A Hero                                        135
                      JH4218                                          139
                    jingmai003                                        147
                      jingman                                         148
                 LIN Supermarket                                      175
                   ling ling 123                                      177
                    maguangbo                                         189
                  MIN2 STORE                                          195
                        SMX                                           235
                   Trend square                                       255
                       tuikmf                                         256
                      vdibjtoy                                        261
                     WanliFly                                         264
                     Yikai8686                                        289
            Zixin International Trade                                 303


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Dated this 24th day of July 2020.     Respectfully submitted,


                                      /s/ RiKaleigh C. Johnson
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                                      Justin R. Gaudio
                                      RiKaleigh C. Johnson
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